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                              IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


JPMORGAN CHASE BANK,N.A., et al

                                            Plaintiffs,                        Case No. 18-cv-03447

         V.

                                                                               Hon. Andrea A. Wood
BERNARD S. BLACK,et al

                                            Defendants.


       DEFENDANTS AND COUNTER-PLAINTIFFS BERNARD S. BLACK AND
      SAMUEL BLACK'S MOTION TO COMPEL PRODUCTION OF DOCUMENTS

         Defendants,Bernard S. Black("Bernard")and Samuel Black("Samuel"),individually and

as trustees, by their undersigned attorneys, pursuant to Rule 37(a)(3)(B)(iv) of the Federal Rules

of Civil Procedure,^ move this Court to compel Defendants Anthony Dain ("Dain") and Jeanette

 Goodwin("Goodwin")to produce all documents responsive to Bernard and Samuel's production

requests, many of which have not been produced despite consistent promises that they will be

 produced and many more of which have been withheld from production based upon specious

assertions ofprivilege. In support, Bernard and Samuel state as follows:

         L        INTRODUCTION


         Dain and Goodwin have been dragging their feet in responding to discovery requests with

empty promises that they will produce more documents. Worse yet, Dain and Goodwin not only

 have failed to produce the additional documents they have promised to produce, they also

 wrongfully assert that more than 7,000 documents responsive to Bernard and Samuel's requests

for production of documents are privileged under the common interest doctrine and have refused



'Pursuant to Local Rule 37.2, after consultation with Dain and Goodwin's counsel, good faith attempts on both
sides to resolve this discovery dispute were unsuccessful.


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to produce them. Dain and Goodwin's assertions of common interest privilege, however, are so

facially absurd and overbroad as to demonstrate their complete disregard ofthe discovery process

and their obligations thereunder.

        First, there is no such thing as a common interest privilege. Common interest(sometimes

called joint defense) is an exception to waiver of a privilege that would otherwise exist. There

must be a separate basis for privilege. There is none here for most of what Dain and Goodwin

have refused to produce.

        Dain and Goodwin plainly have made no effort to confine assertions of privilege to

communications that even arguably are privileged. As egregious examples,they claim common

interest privilegefor communications with court personnel, with Bernard, with Bernard and

Samuel's attorneys, and with Plaintiffs* counsel. Dain and Goodwin also contend, without any

cognizable legal basis, that communications not including any attorney representing any party in

any litigation somehow are privileged. They further claim privilege for countless communications

that do not involve either the solicitation of, or dissemination of, legal advice. In addition, they

assert common interest privilege protection for communications that predate their joint defense

agreement, which they did not enter into until May 2018. And,they assert that theirjoint defense

agreement protects from disclosure communications with individuals who never signed that

agreement, and who were not even aware of it. The most cursory review ofthe Dain's law firm's

privilege log on its face reveals that most logged communications are not subject to privilege, not

subject to the common interest exception, or both,for multiple reasons.

         Given the specious nature of Dain and Goodwin's assertions of privilege, the only logical

conclusions that can be reached are that Dain and Goodwin have made no effort to comply with




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discovery rules and are trying to conceal relevant and responsive documents from Bernard and

Samuel. This Court should not coimtenance such conduct.

         Beyond the specious claims of privilege and common interest for the emails and

attachments documents in the Procopio privilege log, Dain and Goodwin plainly have withheld

relevant, responsive documents from production. They have produced no emails from Goodwin's

email address, jeanettegoodwinl223@msn.com. Dain is known to sometime use his wife's

personal email, dorothydain@yahoo.com, for emails relating to the Black family trusts, but they

have not produced anything from that email address. They have not provided their own privilege

log to show what they are withholding from production. This Court should order appropriate

document production and a privilege log to be produced within 30 days,

    n.      FACTUAL BACKGROUND

         Bernard and Samuel propoimded their First Requests for Production ofDocuments to Dain

and Goodwin in 2018. To date, Dain and Goodwin have produced a mere 489 documents in

response to these requests, despite near constant promises by their counsel that their production

will be supplemented by additional responsive documents,and fiirther, despite clear evidence that

they are withholding thousands of relevant, responsive documents from production through

wrongful assertions ofprivilege.

         Dain and Goodwin's counsel has confirmed that, in responding to Bernard and Samuel's

requests for production, they are standing on the assertions of privilege in refusing to produce

certain documents that are listed in a privilege log compiled by Dain's law firm, Procopio Cory,

Hargreaves & Savitch LLP("Procopio"). (A copy ofthe Procopio privilege log is attached hereto

as Exhibit A). That privilege log was prepared in response to a subpoena Bernard and Samuel

served upon Procopio in this case. This confirmation is is important because the subpoena served



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upon Procopio effectively requests many ofthe same documents,including communications,that

Bernard and Samuel requested of Dain and Goodwin. Notably, too, the Procopio privilege log

lists more than 7,000 purportedly privileged communications involving Dain, and it asserts

common interest privilege for every one ofthe logged communications.

        As stated above, there are numerous communications that Procopio logged as privileged

that are described in the log as communications with court personnel, with Bernard, with Bernard

and Samuel's counsel and with Plaintiffs' counsel.{See e.g. Exhibit A,lines 80,1184,4988,6876).

There is no explanation of how such communications could be privileged.

        In addition, most of the communications Procopio logged as privileged occurred before

any ofthe individuals involved in the subject communications entered into any agreement to keep

such communications confidential. Between May 1, 2018 and July 26, 2018,10 individuals did

sign a Privileged and Confidential Common Interest and Joint Defense Agreement("Joint Defense

Agreement") by which they agreed to keep communications involving pending litigation with

Bernard and his wife Katherine Litvak and any of their relatives confidential. That agreement is

at the center of those individuals' assertions of common interest for their communications. But,

ofthe 7,155 communications listed in the Procopio privilege log, 6,405 ofthose communications

occurred before ofwy ofthose individuals signed the Joint Defense Agreement.(See Exhibit A lines

751-7155). In other words,the vast majority ofthe communications logged as subject to common

interest privilege predate the entry by anyone into any agreement to keep their communications

confidential.


        The Procopio privilege log also asserts common interest privilege for communications with

individuals who never signed the Joint Defense Agreement. For example, Cherie Wrigley

("Wrigley"), who received 1,148 communications listed on the privilege log (see e.g., Exhibit A



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lines 5, 9 and 11-12), is not a party to, and never signed, the Joint Defense Agreement. Others

who were not party to, or who did not sign, the Joint Defense Agreement, but for whom

communications with them regularly are listed on the privilege log as being subject to common

interest privilege, include the law firm of Motschenbacher & Blattner, LLP, and Brian Raphan

("Raphan") and Melissa Cohenson ("Cohenson") from the law firm of Brian A. Raphan, P.C. .

Cohenson and Raphan both testified in their depositions that they were not aware ofany common

interest or joint defense agreement.(An excerpt of Cohenson's deposition transcript with the

relevant testimony is attached as Exhibit B; Raphan's sworn testimony is similar).

        Additionally, the Procopio privilege log includes countless communications that, from

their subject matter descriptions, do not involve either the solicitation of legal advice or the

providing of legal advice. For example, emails relating to a conference call invitation are listed

(see Exhibit A lines 44-45)and emails relating to fundraising for a mental health awareness walk

(see Exhibit A line 4531) are listed as subject to common interest privilege. The privilege log is

replete with other examples of emails that plainly have nothing whatsoever to do with obtaining,

or the rendering of, legal advice.

        In sum,the Procopio privilege log shows that nearly all ofthe communications for which

common interest privilege has been asserted as a basis for refusing to produce the documents lack

the inherent qualities that would make the communication protected from disclosure under any

privilege, and the qualities that would make them potentially subject to the common interest

exception to waiver of privilege. In most instances, there are multiple reasons appearing on the

face of the privilege log why the logged communications cannot possibly be protected from

disclosure.




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        Many ofthe documents that Dain and Goodwin have agreed to produce, and indeed been

ordered to produce long ago by this Court, are the legal bills that they believe the trusts are or may

be responsible for paying. Their counsel has provided some bills, but not others. Even those that

are provided are absurdly redacted. For an extreme example,see Exhibit C,where one cannot tell

the name ofthe billing party, let alone what work was being performed.

    III.      RELEVANT LEGAL STANDARDS FOR PRIVILEGE AND COMMON
              INTEREST


              A. Choice of Law Analysis


        Illinois law and Colorado law both should be considered in examining the subject claims

of privilege. As explained below, documents cannot properly be withheld from production on

privilege grounds unless they would be considered privileged under the laws ofboth states.

        This interpleader action is in this Court based upon diversity jurisdiction. Therefore,

because Illinois is the forum state, Illinois law on conflicts oflaw governs. Aurora Gasoline Co.

V. Coyle, 174 F. Supp. 331, 336(E.D. 111. 1959).

        Illinois courts apply the Restatement(Second)of Conflict ofLaws to questions ofprivilege

and which state's law applies. People v. Allen, 336 111. App. 3d 457,459(2d Dist. 2003). As the

court explained m Allen,it is necessary to determine whether the privilege laws ofthe forum state,

Illinois, or the state that has the most significant relationship with a communication, applies. Id.

Under the Restatement (Second) of Conflict of Law, if there is a prior relationship between the

parties communicating,the state of most significant relationship will be where the relationship is

centered, unless the state where the communication took place has substantial contacts with the

parties and the transaction. Restatement(Second)of Conflict of Laws comment(e).

           Here, the individuals most frequently involved in the communications alleged to be

privileged are: Dain, Goodwin, Wrigley, Lisa DiPonio, Pamela Kerr and Gayle Young. Four of


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those six individuals reside in Colorado. Nearly all the purportedly privileged communications

involve communication across state lines. Arguably, however, the state of most significant

relationship to the subject communications is Colorado.

        Pursuant to Section 139 of the Restatement (Second) of Conflict of Laws, unless a

compelling public policy reason exists, evidence will be admitted if either:(1)it is not privileged

under the law with the most significant relationship to it even if it is privileged under the law of

the forum state or(2)evidence that is not privileged under the local law of the forum even if it is

privileged under law ofthe state with the most significant relationship. Under this analysis,for a

communication to be privileged, it must be privileged under both Illinois and Colorado law.^

        1.       In Iliinois, the Common Interest Doctrine Requires a Common Interest in
                 Defeating a Litigation Opponent and a Prior Agreement

        Under Illinois law,the common interest doctrine is not an independent basis for privilege;

it instead falls under the umbrella ofattorney-client privilege. Ross v. IHinois Cent. R.R. Co.,2019

IL App(1st) 181579,H 38. A communication must satisfy all the requirements for attorney-client

privilege for the common interest doctrine to apply. Id.

        The definition of a communication subject to attorney-client privilege is as follows:(1)

legal advice of any kind is sought(2) firom a professional legal adviser in his or her capacity as

such,(3)the communication relates to that purpose,(4)is made in confidence(5)by the client,(6)

is at his or her instance permanently protected (7)from disclosure by himself, herself or by the

legal adviser,(8)except the protection may be waived. People v. Adam,51 111. 2d 46,48(1972).

The party asserting the privilege bears the burden of establishing the privilege. Consolidation

Coal Co. V. Bucyrus-Erie Co., 89 111. 2d 103,119(1982). It further is well-settled under Illinois


^ The only other state which could have a significant relationship with the purportedly privileged communications is
New York. However, Bernard and Samuel's counsel have no reason to believe the law on these privilege matters is
materially different in New York than in Illinois and Colorado.


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law that "attorney-client privilege ought to be strictly confined with its narrowest possible limits."

fVaste Management, Inc. v. International Surplus Lines Ins. Co., 144111.2d 178,190(1991).

         When a client discloses a privileged communication to a third party "that particular

communication is no longer privileged and is discoverable or admissible in litigation." Center

Partners, Ltd. v. Growth Head GP, LLC,2012 IL 113107, H 35. However,the common interest

doctrine provides a limited exception to waiver. Under this doctrine, a communication to a third-

party remains privileged when(1)there is a common interest among parties in defeating a litigation

opponent and(2)the communicating parties, at the time of disclosure, have an agreement that the

receiving party will treat the information as privileged. Ross v. Illinois Central Railroad Co.,2019

IL App(1st) 181579,H 44;Selby v. O'Dea, 2017 IL App(1st) 151572,135. The common interest

doctrine protects communications between (1) the attorney of one party to the other party's

attorney,(2) by one party to another party's attorney,(3) by one party to its own attorney, in the

presence ofthe other party's attorney and(4)from one party to another party, with counsel present.

Selby, 2017 IL App (1st) at     50-71. Thus, an attorney acting in a representative capacity must

be involved in the communication for the common interest doctrine to apply. And the party

asserting the privilege has the burden ofshowing that it applies. Consolation Coal,supra.

                 2. Under Colorado Law, the Common Interest Doctrine Applies when
                    Communications Further a Common Legal Strategy

         Just as in Illinois, under Colorado law, the common interest doctrine does not provide an

independent basis for privilege, but is instead an exception to the general rule that attorney-client

is waived when communicated to a third-party. Black v. <Sw. Water Conservation Dist., 74 P.3d

462,469(Colo. App. 2003). In Colorado,"Attorney-client privilege extends only to matters(1)

communicated by or to the client in the course of gaining counsel, advice, or direction about the

client's rights or obligations; and(2)under circumstances giving rise to a reasonable expectation



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that the statements will be treated as confidential." Bjornsen v. Bd ofCounty Commissioners of

Boulder County, 2019 COA 59, K 54. And, the common interest doctrine applies only to

communications given in confidence and intended and reasonably believed to be part of an

ongoing and joint effort to set up a common legal strategy. Black, 74 P.3d at 462. And, as in

Illinois, under Colorado law,"statutory privileges are to be strictly construed, and the claimant of

the privilege has the burden of establishing the applicability ofthe privilege in issue." People v.

Dist. Court, County ofAdams,State ofColo., 797 P.2d 1259,1262(Colo. 1990).

    IV.        PAIN AND GOODWIN'S COMMON INTEREST CLAIMS ARE IMPROPER
               AND OVERBROAD


        Dain and Goodwin's assertion ofcommon interest privilege as an exception to waiver of

the attorney-client privilege for most of the communications listed on the Procopio privilege log

is unfounded because most of the purportedly privileged communications: (1) occurred before

parties agreed to keep communications confidential,(2)were sent to individuals who never agreed

to keep communications confidential,(3)included individuals who did not have a common interest

in defeating a common litigation opponent,(4) did not include an attomey acting in his or her

capacity as counsel, and/or(5) did not involve a privileged communication (seeking to obtain or

provide legal advice)to begin with. Given the foregoing,the common interest doctrine applies, at

best,to very few ofthe communications listed on the Procopio privilege log and this Court should

order Dain and Goodwin to produce all relevant and responsive documents for which common

interest protection was wrongly asserted.

          A.     Dain and Goodwin Improperly Claim Common Interest Privilege for
                 Communications before any Joint Defense Agreement Existed




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         As set forth above, most communications listed on the privilege log occurred before the

individuals involved in the subject communications agreed to keep communications confidential.

Consequently,they are not privileged under the common interest doctrine.

         As explained above, under Illinois law, for the common interest doctrine to apply, there

must be an agreement at the time ofcommunication that the parties to the communication will treat

the communication as confidential for it to be privileged. Ross v. Illinois Central Railroad Co.,

2019 IL App (1st) 181579, 44. Because no one signed the Joint Defense Agreement until May

1,2018,all prior communications must be produced. There was no agreement between any ofthe

parties to the communications to keep them confidential prior to that date. In fact, some of the

individuals who are party to the communications either did not sign the Joint Defense Agreement

until a later date or never signed it at all. Under well-settled Illinois law,there can be no common

interest privilege protection for communications with an individual that occurred prior to that

individual's entry into the Joint Defense Agreement.^

         B.       Dain and Goodwin Improperly Claim the Common Interest Exception to
                  Waiver of Privilege Applies to Communications Sent to Parties Who Did Not
                  Sign the Joint Defense Agreement

         Dain and Goodwin also improperly assert the common interest doctrine with respect to

communications sent to individuals who never entered into an agreement to keep communications

confidential (i.e., the Joint Defense Agreement). The only people to sign the Joint Defense

Agreement were: Dain in an.expressly pro se capacity,Ira Salzman for Goldfarb Abrandt Salzman

& Kutzin LLP,Robert M.Fantone for Mancilla & Fantone, LLP,Christina Gomez for Holland &

Hart LLP,Lisa DiPonio for The DiPonio Law Firm,LLC,Gayle Young(Joanne Black's guardian-

ad-litem, who although an attorney did not represent anyone in any relevant proceeding).


^ It should be noted that the Joint Defense Agreement makes no reference to any prior agreement on confidentiality,
whether oral or written.



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Goodwin, Robert A. Carson for Gould & Ratner LLP, Steven P. Mandell for Mandell Menkes

LLC(who became counsel to Pamela Kerr beginning sometime in 2017),and Paul A.Ruscheinski

for Litchfield Cavo LLP (who became counsel to Melissa Cohenson and Brian A. Raphan PC

sometime in 2017).

        As explained above, the common interest privilege does not apply if a communication is

shared with someone who did not agree to keep the communication confidential. Ross v. Illinois

Central Railroad Co., 2019 IL App (1st) 181579, f 44. However, there are 1,148 logged

communications with Wrigley, who did not sign the Joint Defense Agreement, and also many

entries for communications including Kerr, who did not sign the agreement. Those documents,

therefore, should be produced. Likewise, all communications with Motschenbacher & Blattner,

LLP, Raphan and Cohenson should be produced, as none of them signed the Joint Defense

Agreement. In fact, as explained above, Cohenson and Raphan both testified under oath that they

did not even know that any such agreement existed.(See Exhibit B).

        C.       Dain and Goodwin Improperly Claim Common Interest Protection for
                 Communications with Individuals Who do not Have a Common Interest in
                 Defeating a Litigation Opponent

        If one is to rely on the Procopio privilege log for assertions of privilege, as Dain and

Goodwin's attorney say they are doing, Dain and Goodwin are claiming common interest

protection for numerous communications with individuals with whom they have no common

interest in defeating a litigation opponent. In fact, the parties to some communications are their

litigation adversaries. For instance, the Procopio privilege log absurdly asserts privilege and

conlmon interest for communications with Bernard and Samuel's counsel and their counsel's

office.(See e.g., Exhibit A lines 80, 81 and 257). They further claim that communications with

Plaintiff's counsel are subject to common interest privilege, even though they have no common




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interest with Plaintiffs in any litigation. (See e.g., Exhibit A lines 1184, 1417 and 1661). Dain

and Goodwin even claim communications with Bernard are privileged and protected by common-

interest. (See e.g., Exhibit A lines 6876, 7029 and 7033). And they claim privilege for

communications with court personnel.(iSee e.g., Exhibit A lines 4988,5365 and 6228).

        Listing such communications on a privilege log and asserting that they are subject to

common interest demonstrates that Dain's law firm, and Dain and Goodwin themselves, have not

made a good faith effort to participate in the discovery process in good faith, and limit assertions

of privilege to communications that are privileged, or at least arguably are privileged, and that

qualify, even arguably, for the common interest exception to waiver. Procopio appears to have

merely indiscriminately listed communications as being subject to common interest protection that

plainly were not, and Dain and Goodwin have made no effort to evaluate what truly was subject

to privilege and what was not in standing on the assertions of privilege in the Procopio privilege

log.

        D.       Dain and Goodwin Improperly Assert Privilege for Communications that Do
                 Not Include Any Attorney Representing Any Party in Litigation

         Dain and Goodwin assert both privilege and the common interest exception to waiver for

communications that do not involve any attorney acting in his or her capacity as counsel for any

party. The Procopio privilege log lists countless communications that do not include any attorney

acting in his or her capacity as an attorney. For example, the Procopio privilege log includes

communications between Dain and Goodwin,Dain and Wrigley,and Dain and Pamela Kerr."^ (See

e.g. Exhibit A lines 1,4,10, 13,23 and 24).




^ While Dain is an attorney, he does not represent any party in any ofthe subject litigation. Indeed, Dain expressly
signed the Joint Defense Agreement in a pro se capacity, rather than as counsel for any other party.


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        As explained above, however,for the common interest doctrine to apply, all requirements

for attorney-client privilege must first be met,including that the communication is with an attorney

for the purpose ofseeking or disseminating legal advice. Ross v. Illinois Cent R.R. Co.^ 2019IL

App (1st) 181579,         38. For communications that do not involve an attorney acting in a

representative capacity who is obtaining information to render legal advice, or who is rendering

legal advice,there is no privilege to begin with, and one never reaches the question of whether, if

there were privilege, the common interest exception to waiver would apply. Most of the

communications for which common interest privilege is asserted in the Procopio privilege log do

not include any attomey acting in his or her capacity as counsel for another party.

        E.       Dain and Goodwin Improperly Assert Privilege and Common Interest for
                 Communications Unrelated to Obtaining Legal Advice

        Dain and Goodwin improperly claim common interest privilege for communications

unrelated to seeking or providing legal advice. For instance, as noted above,sending or accepting

a conference call invitation does not involve legal advice. Yet,such communications were logged

as being subject to both privilege and common interest. (See Exhibit A lines 44-45). Likewise,

fundraising for a mental health awareness walk does not involve legal advice. Yet, such

communications were logged as well. (See Exhibit A line 4531). The Procopio privilege log is

replete with other examples of communications with identified subjects that have nothing to do

with anyone seeking legal advice from an attomey or with an attomey providing such advice.
         Once again, therefore, these absurd assertions of privilege show that Dain and Goodwin

have not made any good faith attempt to comply with their discovery obligations. Procopio simply

logged thousands of communications as being subject to common interest privilege for which no

good faith argument can be made for such an assertion,and Dain and Goodwin,in tum,have made




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no effort whatsoever to determine what communications truly are subject to that privilege and what

documents must be produced.

         As fiirther evidence ofDain and Goodwin's disregard of discovery rules, neither Dain nor

Goodwin has produced anything at all from certain email accounts that they use in communicating

with others about matters pertaining to this case. And they have failed to offer any explanation for

this.


    V.       CONTINUED REFUSAL TO TURN OVER LEGAL BILLS

         Production of legal bills by Dain and Goodwin has been subject to prior motion practice,

including a motion to compel and a motion for rule to show cause. This Court has ordered their

production(See Orders of April 30,2019 and July 11,2019 attached as Group Exhibit D).

         Set forth below is a description of the bills that Bemard and Samuel believe to exist, but

which have not been produced, and also bills that have been disclosed, but have been completely

redacted. The last in a series of partial, dribble out productions by Dain and Goodwin was on

August 1,2019, which is now over six months ago. Any assertion that Dain and Goodwin do not

possess these bills is frivolous-ifthey want to claim that these bills are or may be payable from

the SNT,which they have done,they are under an obligation to request them from the persons or

firms who prepared them.

    The following production of bills is badly out ofdate(some are also completely redacted):

         Goldfarb, Abrandt, Salzman and Kutzin: Counsel to Joanne Black in New York.
         Received payment by Dain from the SNT in 2016. No bills have been provided for any
         date after July 2017. The bills that have been provided are completely redacted. (See
         Exhibit E).
         Lisa DIPonio: Counsel to Joanne Black in Colorado. Received payment by Dain from
         the SNT in 2016. No bills have been provided for any date after March 2017.
         Pamela Kerr: Accountant for Joanne Black in Colorado and New York. Received
         payment by Dain from the SNT in 2016. No bills have been provided for any date after
         July 2017. Bills are also missing for January-March 2016, even though Kerr is known to
         have done work for Joanne Black during this time.


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        Gayle Young,Esq. Guardian ad litem to Joanne Black in Colorado. Received payment
        by Dain from the SNT in 2016. No bills have been provided for any date after April 2017.
The following invoice production is less out of date but completely or heavily redacted:
       Holland and Hart: Appellate counsel to Joanne Black in Colorado. Received payment
       from the Conservatorship Estate of Joanne Black in 2016. Some bills have been received
       through March 2019, but the production is so disorganized that one cannot tell whether
       production through this date is complete. The bills are completely redacted.
        Motschenbacher & Blattner. Counsel for Goodwin in Oregon. Received payment from
        the Conservatorship Estate ofJoanne Black in 2019. Bills have been received through June
        2019, but are completely redacted.
        Arcturus Law. Counsel to Dain and Goodwin in Illinois,including in this case. Received
        payment from the Conservatorship Estate of Joanne Black in 2018. Bills have been
        received through June 2019, but are completely redacted.
        Gould and Ratner. Former counsel to Dain and Goodwin in Illinois. Bills are heavily
        redacted.

        Terence Brennan,Esq. Counsel to Joanne Black in this case. No bills have been received.
        Given the history ofslow production ofsuch invoices or failure to produce them,with mere

constant promises ofupdating such production by Dain and Goodwin's counsel,this Court should

order Dain and Goodwin to tum over all legal bills to date with appropriate, limited redactions

within 30 days.

        CONCLUSION


        For the foregoing reasons, this Court should grant Bernard and Samuel's Motion to

Compel, order Dain and Goodwin to produce all documents wrongful withheld from production

on baseless assertions ofprivilege within 30 days and award such other reliefasjust and equitable,

including Bernard and Samuel's costs,including reasonable attorneys' fees, in having had to bring
this motion.




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                                     Respectfully submitted,

                                     BERNARD BLACK and SAMUEL BLACK,
                                     individually and as Trustees ofthe SNT,2013 Trust
                                     and Issue Trust



                                     By:/s/ Brad S. Gravson
                                         One ofTheir Attorneys


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                     Exhibit B
Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 19 of 43 PageID #:1405




               Katherine Black vs Cherie Wrigley, et al.
                                  17-cv-OOlOl



                       Transcript ofthe Testimony of:

                   MELISSA COHENSON
                                 August 28,2018




       ISLegal
      ^^PPORT
       The Power of Commitment                          REPORTING
       Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 20 of 43 PageID #:1405



     08/28/2018                               MELISSA COHENSON                            Page 1

                                                                                        Page 1
1                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                       EASTERN DIVISION


3
       KATHERINE BLACK,
4
                               Plaintiff,                       Case No.;
5                                                               17-cv-OOlOl
          V.

6
       CHERIE WRIGLEY, MELISSA COHENSON,
7      BRIAN A. RAPHAN, P.C., and
       PAMELA KERR,
8


9                              Defendants.


10


11


12                        Oral deposition of MELISSA COHENSON, taken

13     pursuant to Notice, was held at the Law Offices of

14     LITCHFIELD CAVO LLP, 420 Lexington Avenue, New York,

15     New York, commencing August 28, 2018, 9:51 a.m., on

16     the above date, before Amanda McCredo, a Court

17     Reporter and Notary Public in the State of New

18     York.


19


20


21


22


23


24


25




     witraBscripts@usIegaIsapportcoiD    U.S.LEGAL SUPPORT / GRAMANN REPORTING   Phone:(800)899-7222
   Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 21 of 43 PageID #:1405



08/28/2018                                        MELISSA COHENSON                                                 Pages 50-53

                                                           Page 50                                                          Page 52
 1    BY MR. SCHAMMAN:                                               1       Q       You're really not allowed to ask any
 2         Q      Did you create the document?                       2    questions of me. You're certainly allowed to ask
 3         A      I don't even know vdiat document we're             3    questions of your counsel.
 4    talking about here, to be honest. I know you said              4             In the hopes of getting through this as
 5    it's a sini)le question. To me, it's not. iMs is               5    expeditiously and as efficiently as possible, your
 6    the first time I'm looking at Exhibit 3. I don't               6    asking me questions would not be helpful.
 7    know vdiat this spreadsheet is. I'm looking at the             7             I'll proceed with other questiois.
 8    description here vMch says, "Property valuaticai,"             8        A      Okay.
 9    and you read the address and that rings a bell.                9        Q      Because that's my job, is to ask you
10                I don't know if this was something — it            10   questions and your jds is to give answers.
11    looks to me here as it's from Pamela Kerr — it has             11       A      Yes.

12    an Qtail address — sent it to me.                              12       Q      The next document, which is MCBR68 through
13             So in strictly just looking at this                   13   69, again, is identified as an Bnail. This one
14    description from Pamela Kerr to Melissa Cbhenson, I            14   appears to be from Ira Salzman to a number of
15    do not believe I created it. And I did not invoke              15   persons and your email address is listed as someone
16    any privilege as I did not even create this.                   16   vbo received it.
17         Q      I understand. And I'm entitled to e:q)lore         17              Do you recall this snail, vbich is
18    whether the privilege was appropriately invoked and            18   apparently dated March 10, 2016?
 19   I think you, as the recipient, are a fair target for           19       A    I recall having been sent emails from
 20   my questions about vdiether the privilege was                  20   Mr. Salzman with the group of pecple that are listed
 21   properly invdced.                                              21   here on a few occasions. And this description.
 22               MR. EANTQNE: I would like to note for the          22   "Joanne Black, inmediate next steps," I have no idea
 23            record, if Pamela Kerr was retained by counsel.       23   what it involved, like, specificedly.
 24            then her work would also constitute work              24       Q      And you didn't create this document, to the
 25            product. It doesn't necessarily mean becaxase         25   best of your recollection, did you?
                                                           Page 51                                                           Page 53
  1            Melissa didn't create it, that it doesn't              1       A      Mo.

  2            constitute work product.                               2       Q      So it's not your work product, is it?
  3                If Pamela Kerr was retained as counsel, the        3       A    Well, I may have replied.
  4            documents she created would also coistitute            4       Q    Well, this isn't a reply that's being
  5            work product.                                          5   identified here. It's a document and it appears to
  6        Q       Ms. Cdhensoi, vdiat is the common interest         6   be a document from Ira Salzman to a group of pecple
  7    you shared with Ms. Kerr regarding the anail dated             7   including you, correct?
  8    February 18, 2016 addressed to you?                            8       A      Correct.

  9        A    May I ask what you mean by "common                    9              Can I ask my counsel a question?
 10    interest"?                                                    10       Q      That's fine.
 11        Q    You can. But it's the privilege that's               11              MR. CRAWFORD: She is asking me who
 12    being asserted on your behalf.                                12           prepared this.
 13             So I would first like you to answer that             13               This is a privileged log that was prepared
 14    question based on vdiatever understanding you have            14           by our firm of documents that we believe aire
 15    about common interest.                                        15           protected from discovery.
 16                MR. CRAHFORD:    Before she answers, I'm          16               THE WITNESS: Okay.
 17            going to interject that these are legal               17               MR. CRAWFORD: So these are documents that
 18            dbjecticHis that were asserted by her counsel.        18           would have been in the file that was provided
 19            as is very commoi and you have done in your           19           by Brian Raphan's office and, again, these are
 20            discovery.                                            20           vbat we believe are privileged documents and
 21                The objections are asserted by the                21           that's why you haven't seen it.
 22            attorneys and the answers are provided by the         22               MR. SCHAAIMAN: Mr. Crawford, are you
 23            clients, the parties.                                 23           willing to stipulate these documents were in
 24                Subject to that, you can answer.                  24           the file that Ms. Cohenson received from Brian
 25         A      Am I allowed to ask —                             25           Raphan or her first attorney received from


 witran8cripts@u8legal8upportconi           U.S.LEGAL SUPPORT / GRAMANN REPORTING                                Phone:(800)899-7222
Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 22 of 43 PageID #:1405




                     Exhibit C
Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 23 of 43 PageID #:1405




                                                                     INVOICE
 arcturus
              law firm                                                      Invoice# 187
                                                                         Date: 09/12/2018
                                                                    Due On: 10/12/2018
211 W Wacker, Ste 323
 Chicago, Illinois 60606


 Jeanette Goodwin


00051-Goodw-Conservato

 Conservatorship Estate of Joanne Black v. Bernard Steven Black

  Services

                                  Notes                 Quantity    Rate         Total

  Service    08/23/2018                                      0.60   $300.00      $180.00

                                                     Services Subtotal           $180.00



  Expenses

    Type         Date             N(^es                  Quantity    Rate        Total

  Expense    08/23/2018                                      1.00    $40.19       $40.19

  Expense 08/23/2018                                         1.00        $9.29     $9.29

                                                    Expenses Subtotal             $49.48

                                                             Subtotal            $229.48



 00052-Goodw-Utvak v.

 LItvak V. Black et al


  Services

    Type         Date             Notes.                 Quan^       Rate         Total

  Service     08/03/2018                                     0.30   $300.00       $90.00




                                    Page 1 of4



                                                                                    D/G INT 000253
Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 24 of 43 PageID #:1405

                                                              Invoice #187-09/12/2018




 Service    08/06/2018                                      0.40    $300.00    $120.00




 Service    08/13/2018                                       1.40   $300.00    $420.00



 Service    08/20/2018                                       0.20   $300.00     $60.00


 Service    08/23/2018                                       3.00   $300.00    $900.00



 Service    08/24/2018                                       0.40   $300.00    $120.00


 Service    08/24/2018                                       0.70   $300.00    $210.00



 Service    08/28/2018                                       0.10   $300.00     $30.00


 Service    08/28/2018                                       0.60   $300.00    $180.00

 Service    08/29/2018                                       0.80   $300.00    $240.00



 Service    08/30/2018                                       0.20   $300.00     $60.00


 Service    09/04/2018                                       0.40   $300.00    $120.00

 Service    09/07/2018                                       0.50   $300.00    $150.00

                                                     Services Subtotal        $2,700.00



  Expenses

   Tyi^        Date                                      Quantity    Rate       Total

  Expense   09/04/2018                                       1.00   $110.25    $110.25

  Expense   09/07/2018                                       1.00    $51.44     $51.44

  Expense   09/10/2018                                       1.00   $112.00    $112.00

                                                     Expenses Subtotal         $273.69

                                                              Subtotal        $2,973.69




                                    Page 2 of 4



                                                                                   D/G INT 000254
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                                                             Invoice #187-09/12/2018




00053-Dain-Dal v. Ber

 Dal V. Bernard Black et al.

   Type       Date                 Notes                Quantity   Rate       Total

 Service    08/13/2018                                      1.40   $300.00    $420.00



 Service    08/15/2018 1                                    0.20   $300.00     $60.00


 Service    08/16/2018 1                                    0.80   $300.00    $240.00


 Service    08/16/2018 1                                    0.80   $100.00     $80.00


 Service    08/20/2018j                                     0.10   $300.00     $30.00



 Service    08/21/2018 1                                    0.80   $100.00     $80.00


 Service    08/21/2018 1                                    0.80   $100.00     $80.00



 Service    08/24/2018                                      0.40   $300.00    $120.00


  Service   08/24/2018                                      0.70   $300.00    $210.00



  Service   08/28/2018                                      0.20   $300.00     $60.00


  Service   08/28/2018                                      0.60   $300.00    $180.00

  Service   08/29/2018                                      0.80   $300.00    $240.00


  Service   08/30/2018                                      0.20   $300.00     $60.00



                                                             Subtotal        $1,880.00



 00054-Dain-lnterplead

 Interpleader - Black litigation

   type        Date                Notes                Quantity    Rate       Total




                                     Page 3 of4



                                                                                  D/G INT 000255
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                                                                                  Invoice# 187-09/12/2018




 Service    08/16/2018                                                          2.50     $300.00     $750.00


 Service    08/17/2018                                                          3.00     $300.00     $900.00

 Service    08/17/2018                                                          4.20     $300.00 $1,260.00




 Service    08/28/2018                                                           0.20    $300.00      $60.00


 Service    09/05/2018                                                           0.30    $300.00      $90.00



                                                                                  Subtotal         $3,060.00




                                                                                  Subtotal         $8,123.17

                                                                                        Total      $8,123.17

                                                                       Payment(09/12/2018)         •$8,123.17

                                                                            Balance Owing              $0.00



 Detailed Statement of Account


  Current Invoice

     Invoice Number,           Due On          AmwMJpue              Paymente Received          Balance Due

  187                         10/12/2018                 $8,123.17               $8,123.17             $0.00




 Please make all amounts payable to: Arcturus Law Firm

 Please pay within 30 days.




                                                   Page 4 of 4



                                                                                                         D/G INT 000256
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                     Exhibit D
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    Case: l:18-cv-03447 Document #: 63 Filed: 04/30/19 Page 1 of 1 PagelD #:736

                             UNITED STATES DISTRICT COURT
            FOR THE Northern District ofIllinois- CM/ECF LIVE,Ver 6.2.2
                                        Eastern Division



  J.P. Morgan Securities LLC,et al.
                                            Plaintiff,
  V.                                                        Case No.: 1:18-cv-03447
                                                            Honorable Andrea R. Wood
  Bernard S. Black, et al.
                                            Defendant.




                             NOTIFICATION OF DOCKET ENTRY




  This docket entry was made by the Clerk on Tuesday, April 30,2019:

         MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held.
  Pursuant to the discussion held in open court and for the reasons stated on the record,
  Defendants' motion to compel[61] is granted. Defendant Dain and Defendant Goodwin
  shall produce the documents discussed on the record by 5/14/2019. Status hearing set for
  6/12/2019[60]remains firm. Mailed notice(ef,)




   ATTENTION:This notice is being sent pursuant to Rule 77(d)ofthe Federal Rules of
   Civil Procedure or Rule 49(c)ofthe Federal Rules of Criminal Procedure. It wp
   generated by CM^CF,the automated docketing system used to maintain the civil and
   criminal dockets ofthis District. If a minute order or other document is enclosed, please
  refer to it for additional information.

   For scheduled events, motion practices, recent opinions and other information, visit our
   web site at wwwMn(Luscourts,gov,
Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 29 of 43 PageID #:1405

    Case: l:18-cv-03447 Document#: 73 Filed: 07/11/19 Page 1 of 1 PagelD#:776

                             UNITED STATES DISTRICT COURT
            FOR THE Northern District of Dlinois- CM/ECF LIVE,Ver 6.3.1
                                         Eastern Division



  J.P. Morgan Securities LLC,et al.
                                             Plaintiff,
  V.                                                        Case No.: 1:18-cv—03447
                                                            Honorable Andrea R. Wood
  Bernard S. Black, et al.
                                             Defendant.




                             NOTIFICATION OF DOCKET ENTRY




  This docket entry was made by the Clerk on Thursday, July 11,2019:

          MINUTE entry before the Honorable Andrea R. Wood: Motion and Static hearing
  held. Pursuant to the discussion held in open court. Defendants Dain and Goodwin shall
  produce the remaining documents in response to the Court's April 30,2019 order [63], by
  8/1/2019. Defenctots Dain and Goodwin shall then respond to Defendants Black and
  Black's motion for mle to show cause [70] by 8/15/2019 and Defendants Black and Black
  shall reply thereto by 8/29/2019. Uie Court adopts the discovery schedule proposed in the
  parties' Joint Status Report[72]. Written discovery shall be completed by 10/11/2019;
  deposition and fact discovery shall be completed by 1/13/2020; initial expert disclosures
  shall be due by 2/13/2020; expert depositions and all expert discovery shall be completed
  by 4/13/2020; and any dispositive motions shall be filed by 5/29/2020. Status hearing set
  for 10/10/2019 at 9:00 AM.Mailed notice(ef,)




   ATTENTION: This notice is being sent pursuant to Rule 77(d)ofthe Federal Rules of
   Civil Procedure or Rule 49(c) ofthe Federal Rules of Criminal Procedure. It wp
   generated by CM^CF,the automated docketing system used to maintain the civil and
   criminal dockets ofthis District. If a minute order or other document is enclosed, please
   refer to it for additional information.

   For scheduled events, motion practices, recent opinions and other information, visit our
   web site at wwwJlnd uscourts.gov.
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                      Exhibit E
  Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 31 of 43 PageID #:1405




GOLDFARB ABRANDT SALZMAN & KUT2IN LLP
The Empire State Building
350 Fifth Avenue - Suite 4310
New York, NY 10118




Ira Saizman
Goldfarb Abrandt Saizman & Kutzin
350 5th Ave.
Suite 4310
New York. NY 10118



July 20.2017


Joann Black Utigation




                                                                          Hours     Amount


  8/19/2016 MSK                                                             1.00     500.00



  8/21/2016 MSK                                                            0.25      125.00



  8/22/2016 MSK                                                             0.50     250.00

                                                                            0.25i    125.00
   9/8/2016 MSK


  11/8/2016 SZ                                                              0.75     150.00

                                                                            0.50     100.00
  11/9/2016 SZ

 11/10/2016 IS                                                              5.00    2.500.00

                                                                            5.50    2,750.00

                                                                            4.00    2,000.00

                                                                            2.00    1.000.00

                                                                            0.70     350.00

                                                                            3.00    1.500.00

                                                                            2.00     400.00




                                                                             D/G INT 000505
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Ira Salzman                                                                  Page    2

                                                                          Hours     Amount


 11/11/2016 SZ                                                              0,33     66.00



  12/1/2016 SZ                                                              0.17     34.00

  1/17/2017 SZ                                                              0.25     50.00


              For Professional Services Rendered                           26.20 $11,900.00

              Additional Charges:
                                                                        Qtv/Price


 11/10/2016 SZ                                                                 1         6.45
                                                                            6.45

                                                                             172     17.20
                                                                            0.10

                                                                               1     45.00
                                                                           45.00


  12/5/2016 IS                                                                 1     25.00
                                                                           25.00


              Total costs                                                           $93.65




                                                                              D/G INT 000506
     Case: 1:18-cv-03447 Document #: 134 Filed: 02/03/20 Page 33 of 43 PageID #:1405




GOLDFARB ABRANDT SALZMAN & KUTZIN LLP
The Empire State Building
350 Fifth Avenue - Suite 4310
New York, NY 10118




Joanne Black
Re: Estate of Renata Black




July 20.2017




                                                                  Hrs/Rate     Amount


  3/23/2016 IS                                                         2.00   1,000.00
                                                                 S500.00/hr



                                                                      1,25     250.00
                                                                 $200.00/hr

  3/24/2016 IS                                                        0.50     250.00
                                                                 $600.00/hr


  3/30/2016 APL                                                       2.50     500.00
                                                                 $200.00/hr

  4/14/2016 MSK                                                        1.00    500.00
                                                                 $500.00/hr

               MSK                                                    0.25      125.00
                                                                 $500.00/hr

               MSK                                                     0.25     125.00
                                                                 $500.00/hr


  4/29/2016 MSK                                                        5.75   2,875.00
                                                                 $500.0d/hr

    5/3/2016 MSK                                                       2.75   1,375.00
                                                                 $500.00/hr




                                                                                D/G INT 000507
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Joanne Black                                                                 Page 2

                                                                 Hrs/Rate     Amount


  5/6/2016 MSK                                                       0.25     125.00
                                                               $500.00/hr

                                                                     0.25     125.00
                                                                $500.00/hf

  5/9/2016 APL                                                        0.50    100.00
                                                                $200.00/hr

                                                                     1.00     500.00
                                                                $500.00/hr

                                                                     0.75     375.00
                                                                $500.00/hr

                                                                     0.50     250.00
                                                                $600.00/hr

 5/11/2016 MSK                                                       0.25     125.00
                                                                $500.00/hr

                                                                     0.50     250.00
                                                                $500.00/hr

                                                                     2.25    1,125.00
                                                                $500.00/hr




  5/25/2016 MSK                                                      0.50     250.00
                                                                $500.00/hr

 6/13/2016 MSK                                                        1.50    750.00
                                                                $500.00/hr

           DJC                                                        0.50     175.00
                                                                $350.00/hr

           DJC                                                        1.50     525.00
                                                                $350.00/hr

  6/15/2016 MSK                                                       0.25     125.00
                                                                $500.00/hr

                                                                      0.25     125.00
  6/21/2016 MSK
                                                                $500.00/hr

  6/27/2016 MSK                                                       0.75     375.00
                                                                $500.00/hr




                                                                               D/G INT 000508
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Joanne Black                                                                 Page 3


                                                                 Hrs/Rate     Amount


  7/6/2016 MSK                                                       5.76    2,875.00
                                                                $600.00/hr



  7/6/2016 MSK                                                        1.60    750.00
                                                                $600.00/hr

                                                                     0.25     126.00
                                                                $600.00/hr

                                                                     1.00     600.00
                                                                $500.00/hr

                                                                     2.25    1,126.00
                                                                $500.00/hr

   7/7/2016 MSK                                                      0.25     125.00
                                                                $500.00/hr

  7/12/2016 MSK                                                       1.50    750.00
                                                                $500.00/hr

  7/18/2016 MSK                                                      0.25      125.00
                                                                $600.00/hr

  7/22/2016 MSK                                                       2.26   1,125.00
                                                                $600.00/hr



  7/24/2016 MSK                                                       0.75     375.00
                                                                $500.00/hr

  7/25/2016 MSK                                                       0.50     260.00
                                                                $600.00/hr

                                                                      0.25     126.00
  7/26/2016 MSK
                                                                $600.00/hr

                                                                      0.60     250.00
  7/28/2016 MSK
                                                                $600.00/hr

  7/29/2016 MSK                                                       3.25   1.626.00
                                                                $600.00/hr


                                                                      0.75     375.00
               MSK
                                                                $500.00/hr

                                                                      0.75     375.00
   8/1/2016 MSK
                                                                $500.00/hr




                                                                               D/G INT 000509
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Joanne Black                                                                 Page 4

                                                                 Hrs/Rate     Amount


  8/3/2016 MSK                                                       0.50     250.00
                                                                $500.00/hr

  8/5/2016 MSK                                                        2.00   1,000.00
                                                                $500.00/hr



           MSK                                                       3.00    1,500.00
                                                                $500.00/hr



  8/8/2016 MSK                                                       3.00    1,500.00
                                                                $500.00/hr

           MSK                                                       3.00    1,500.00
                                                                $500.00/hr

  8/9/2016 MSK                                                       0.50      250.00
                                                                $500.00/hr

 8/10/2016 MSK                                                       0.25      125.00
                                                                $500.00/hr

 8/11/2016 MSK                                                       0.25      125.00
                                                                $500.00/hr

 8/12/2016 MSK                                                       0.50      250.00
                                                                $500.00/hr

 8/15/2016 MSK                                                        2.75   1,375.00
                                                                $500.00/hr

 8/16/2016 MSK                                                        0.25     125.00
                                                                S500.00/hr

                                                                      0.25     125.00
  8/23/2016 MSK
                                                                $500.00/hr


  10/5/2016 MSK                                                       2.75    1.375.00
                                                                $500.00/hr



                                                                      0.50     250.00
               MSK
                                                                $500.00/hr

                                                                      0.25     125.00
  10/6/2016 MSK
                                                                $500.00/hr

                                                                      0.50     250.00
  10/7/2016 MSK
                                                                $500.00/hr




                                                                               D/GINT 000510
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Joanne Black                                                                  Page 5

                                                                  Hrs/Rate     Amount

10/11/2016 MSK                                                        0.25     125.00
                                                                $500.00/hr

                                                                     0.25       125.00
                                                                $500.00/hr

10/20/2016 MSK                                                        1.50     750.00
                                                                $500.00/hr

                                                                      0.25      125.00
                                                                $500.00/hr

10/21/2016 MSK                                                        0.25      125.00
                                                                S500.00/hr


 11/4/2016 MSK                                                        1.00      500.00
                                                                $500.00/hr

 11/5/2016 MSK                                                        2.75    1,375.00
                                                                $500.00/hr

  11/6/2016 MSK                                                       4.25    2,125.00
                                                                $500.00/hr

  11/7/2016 MSK                                                       0.75      375.00
                                                                $500.00/hr




                                                                      0.75      375.00
                                                                $500.00/hr

                                                                      1.75      875.00
                                                                $500.00/hr




  11/8/2016 MSK                                                       3.00    1,500.00
                                                                $500.00/hr


  11/9/2016 MSK                                                       2.25    1,125.00
                                                                $500.o6/hr


                                                                      3.00     1,500.00
 11/15/2016 MSK
                                                                 $500.00/hr




                                                                                D/GINT 000511
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Joanne Black                                                                 Page 6


                                                                 Hrs/Rate     Amount

11/16/2016 IS                                                        0.50     250.00
                                                               $500.00/hr

           MSK                                                       4.50    2.250.00
                                                               $500.00/hr




11/17/2016 MSK                                                       2.75    1,375.00
                                                               $500.00/hr




                                                                     0.25     112.50
                                                               $450.00/hr

                                                                     0.75     150.00
                                                               $200.00/hr

11/21/2016 MSK                                                       1.75     875.00
                                                               $500.00/hr

                                                                     0.42      84.00
                                                               $200.00/hr

                                                                     0.75     375.00
                                                               $500.00/hr

11/22/2016 MSK                                                       0.25     125.00
                                                               $500.00/hr

11/23/2016 MSK                                                       0.50     250.00
                                                               $500.00/hr

11/24/2016 MSK                                                       2.75    1,375.00
                                                                $500.00/hr

11/25/2016 MSK                                                       2.25    1,125.00
                                                                $500.00/hr



                                                                     0.50      250.00
                                                                $500.00/hr

                                                                     0.50      250.00
                                                                $500.00/hr




                                                                              D/G INT 000512
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                                                                 Hrs/Rate     Amount

11/27/2016 MSK                                                       0.25     125.00
                                                               $500.00/hr


11/28/2016 MSK                                                       0.25     125.00
                                                               $500.00/hf

           MSK                                                       1.25     625.00
                                                               $500.00/hr

11/29/2016 MSK                                                       1.00     500.00
                                                               $500.00/hr


           MSK                                                       4.75    2,375.00
                                                               $500.00/hr




11/30/2016 MSK                                                       1.50     750.00
                                                               $500.00/hr

           MSK                                                       0.25     125.00
                                                                $500.00/hr

 12/1/2016 MSK                                                       0.25     125.00
                                                                $500.00/hr

 12/2/2016 MSK                                                       0.25     125.00
                                                                $500.00/hr

 12/5/2016 MSK                                                       0.50     250.00
                                                                $500.00/hr

 12/6/2016 MSK                                                       0.25      125.00
                                                                $500.00/hr

  12/8/2016 MSK                                                      0.50     250.00
                                                                $500.00/hr

 12/14/2016 MSK                                                      0.25      125.00
                                                                $500.00/hr

 12/15/2016 MSK                                                      0.50      250.00
                                                                $500.00/hr

   1/4/2017 MSK                                                       0.25     125.00
                                                                $500-00/hr

  1/30/2017 MSK                                                       0.25     125.00
                                                                $500.00/hr




                                                                              D/G INT 000513
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                                                             $500.00/hr

                                                                    1.00    500.00
                                                                            5(
                                                             $500.00/hr

                                                                    9.00   4,5(
                                                             $500.00/hr


                                                                    6.00   3,0i




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                                                                 Hrs/Rate       Amount

 5/26/2017 MSK                                                       0.25        125.00
                                                               $500.00/hr

                                                                     0.50        100.00
                                                               $200.00/hr

  6/1/2017 MSK                                                       0.25        125.00
                                                               $500.00/hr

  6/2/2017 MSK                                                       3.00       1,500.00
                                                               $500.00/hr

  6/6/2017 MSK                                                       0.25        125.00
                                                               $500.00/hr

 6/15/2017 SZ                                                        0.25         50.00
                                                               S200.00/hr

  7/5/2017 MSK                                                       0.25        125.00
                                                               $500.00/hr



 7/18/2017 MSK                                                       0.25        125.00
                                                               $500.00/hr

           MSK                                                       0.25        125.00
                                                                $500.00/hr

 7/20/2017 MSK                                                       2.50       1,250.00
                                                                $500.00/hr


           For Professional Services Rendered                      205.92    $100,796.50

           Additional Charges:
                                                                 Qtv/Prlce

                                                                        1          45.00
  6/6/2016 LA
                                                                    45.00

                                                                        1          75.00
   8/1/2016 LA
                                                                    75.00

                                                                        1       1,175.00
  8/10/2016 LA
                                                                  1,175.00

                                                                         1        120.00
  8/15/2016 MSKI
                                                                    120.00

                                                                        3          37.35
  8/17/2016 LA
                                                                     12.45




                                                                                  D/GINT 000516
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                                                                 Qtv/Price    Amount

 8/17/2016 LA                                                           3       19.35
                                                                     6.45

10/12/2016 IS                                                           1      100.00
                                                                   100.00

11/17/2016 SZ                                                          43        4.30
                                                                     0.10

 12/5/2016 MSK                                                          1       21.43
                                                                    21.43

                                                                        1       50.00
                                                                    50.00

12/12/2016 IS                                                           1       50.00
                                                                    50.00

 2/22/2017 IS                                                           1       40.40
                                                                    40.40

 3/27/2017 MSK                                                          1       58.81
                                                                    58.81

 4/12/2017 IS                                                           1       29.00
                                                                    29.00

 6/14/2017 MSK                                                          1     1,777.50
                                                                  1,777.50

                                                                        1      900.00
                                                                   900.00

 6/15/2017 SZ                                                         266       26.60
                                                                     0.10

 6/19/2017 MSK                                                          1       67.58
                                                                    67.58

  7/17/2017 IS                                                          1       14.50
                                                                    14.50


                                                                             $4,611.82




                                                                                D/G INT 000517
